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                            EXHIBIT 1
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                                                       POLICIES

                                      EMPLOYEE ACKNOWLEDGMENT               FORM



All employees of Continental, its subsidiaries and affiliates are expected to comply with the Policies of the Company,
whether located on the lntranet", Handbook, or otherwise communicated by Continental. However, he Policies do not
constitute an employment contract, nor are they intended to make commitments concerning terms of employment
with the Company or establish a standard for just-cause terminations. Employment with the Company is "at will".
The Company and its employees are in an employment relationship that can be ended by either party, at any time
and for any reason that either deems appropriate.
                                                                                                  Initials_-+_,..____
The Company reserves the right to revise, supplement, rescind or make exceptions to any of its Policies ro ti,....'-lll'---""
time as it deems appropriate, in its sole discretion. It is understood, however, that no person has the authority t alter
the terms of these Policies with oral modifications. Only the Vice President of Human Resources may approve a
change in these provisions.
                                                                                                   Initials



I certify that at the time of my orientation process as a new employee, I have been given a copy of, that I have read,
and fully understand the following Company Policies:
     •   Code of Business Conduct / Anti Corruption / Compliance Hotline Policy
     •   EEO Policy
     •   Freedom from Unlawful Harassment Policy
     •   Electronic Media Communication Policy
     •   Violence Free Workplace
I have been offered an opportunity to ask any questions that I need to ask in order to fully understand the Company's
Policies and my rights and responsibilities under them.

In signing this document, I certify that I have reviewed these Policies and that I understand that it is my re ponsibi ity
to comply with them and any revisions made to them.
                                                                                                   Initials.--'.,..;....~~
                                                                                                                         __
I acknowledge that in addition to those Policies listed above, I have received and/or it has been explained to me how I
can obtain all Company Policies. I have been offered an opportunity to ask any questions that I need to ask in order
to fully understand the Company's Policies and my rights and responsibilities under them. I am aware that if, at any
time, I have questions regarding Company Policies I should direct them to the Human Resources department.




In signing this document, I certify that I will review all Company Policies no later than 30 days after my rrst day of'
work and that I understand that it is my responsibility to comply with them and any revisions made to the
                                                                                                   Initials_-,----",          _


                        tand the contents of this Acknowledgement     Form and agree to a


                                          Gtwt \,yll4lvf                        =---b ~~Lfd

                                         Employee Name (Printed)




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